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  IT IS ORDERED as set forth below:



  Date: May 23, 2022
                                                      ________________________________
                                                                  Paul Baisier
                                                          U.S. Bankruptcy Court Judge

 _______________________________________________________________


                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        :      CHAPTER 11
                                              :
                                              :
ATLANTA LIGHT BULBS, INC.                     :      CASE NO. 22-52950-PMB
                                              :
         Debtor.                              :

                                     ORDER FOR RELIEF

         Petitioning creditors Halco Lighting Technologies, LLC, Candela Corporation, and

Norcross Electric Supply Company (collectively, the “Petitioning Creditors”) filed an Involuntary

Petition (the “Petition”) under Chapter 11 against Atlanta Light Bulbs, Inc. (the “Debtor”) on April

15, 2022 (Docket No. 1). On April 19, 2022, the Clerk of Court issued the Involuntary Summons

(Docket No. 3). Pursuant to the Certificate of Service of Summons filed April 19, 2022 (Docket

No. 5), the Debtor was served with the Petition and the Involuntary Summons via its registered

agent Jeffrey Mangieri at 2 Ravinia Drive, Suite 1530, Atlanta, Georgia 30346. The Debtor’s

answer to the Involuntary Summons was due no later than May 13, 2022. The Debtor failed to
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answer or otherwise respond. Pursuant to 11 U.S.C. § 303(h), entry of this Order for Relief under

Chapter 11 of the Bankruptcy Code is appropriate and warranted. Accordingly, it is hereby

       ORDERED that the Order for Relief under Chapter 11 is hereby GRANTED. It is further

       ORDERED that the Debtor shall comply with Federal Rules of Bankruptcy Procedure

1007(a)(2), (b)(1) and (c) by timely filing the requisite documents.

       The Clerk’s Office is directed to serve a copy of this Order upon the Debtor, the United

States Trustee, and all parties on the mailing matrix.

                                        [END OF DOCUMENT]




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